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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

RAMCHANDRA ADHIKARI, et al.,                §
                                            §
              Plaintiffs,                   §
                                            §         CIVIL ACTION NO. 09-cv-1237
v.                                          §
                                            §
DAOUD & PARTNERS, et. al.,                  §         JUDGE KEITH P. ELLISON
                                            §
              Defendants.                   §



     KBR DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION TO COMPEL THE
              PRODUCTION OF KBR ETHICS HOTLINE REPORTS

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                    MATERIAL UNDER SEAL DELETED PURSUANT TO
                     CONFIDENTIALITY ORDER AND AGREEMENT


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        Defendants KELLOGG BROWN & ROOT, INC.; KELLOGG BROWN & ROOT

SERVICES, INC.; KBR, INC.; KBR HOLDINGS, LLC; KELLOGG BROWN & ROOT LLC;

KBR TECHNICAL SERVICES, INC.; KELLOGG BROWN & ROOT INTERNATIONAL,

INC.;     SERVICE         EMPLOYEES            INTERNATIONAL,              INC.;      and     OVERSEAS

ADMINISTRATION SERVICES, LTD (hereinafter “KBR Defendants” or “KBR”), hereby file

this Response to Plaintiffs’ Motion to Compel the Production of KBR’s Ethics Hotline Reports.

In support, KBR would show the Court as follows:

            I.      NATURE OF PROCEEDING & SUMMARY OF ARGUMENT

        Despite this case being on file for almost four years, Plaintiffs have not produced a

scintilla of evidence to connect KBR to Plaintiffs’ allegations. In a desperate and never-ending

quest to find anything resembling evidence to support their Complaint, because they have no

evidence of their own, Plaintiffs now seek the production of four privileged (and irrelevant)

documents from KBR’s privilege log. The four documents at issue include two Hotline Reports,

and an investigation and email transmittal between attorneys related to one of the Hotline

Reports. All four of these documents are Ethics and Compliance (“E&C”) records generated

under the direction and supervision of the KBR Law Department pursuant to KBR’s Code of

Business Conduct (“COBC”), and the KBR Law Department is the custodian for the records.

(Ex. J, ¶ 10) (Decl. of Dean Graves). None of the documents relate in any way to the Plaintiffs

here.

        Desperate for evidence that does not exist, Plaintiffs also request that KBR Defendants be

required to “conduct a thorough search for additional relevant and responsive reports” and “to

promptly produce any additional reports uncovered in that search.”1 As set forth more fully


1
 In support of Plaintiffs’ argument that KBR has not searched for COBC documents, Plaintiffs argue that KBR’s
production has come from only 10 custodians, called “Persons of Interest” (“POI”). This is not true. While

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below, KBR Defendants have already performed such a search and no additional responsive

documents have been identified.               If additional responsive documents are located, KBR

Defendants will supplement their privilege log as required by the Federal Rules. No order of this

Court is necessary in this regard.2

         The Court should deny Plaintiffs’ motion to compel the E&C documents because the

motion is nothing more than a continuation of Plaintiffs’ fishing for evidence that does not exist,

the documents are protected by KBR’s attorney-client and work product privileges, and the

documents are completely irrelevant to any claims or defenses asserted in this case. In the

alternative, KBR respectfully requests that the Court conduct an in camera inspection of the

documents subject to Plaintiffs’ motion to compel to determine whether the documents at issue

are privileged or relevant to a claim or defense in this matter.

                  II.      KBR’S CODE OF BUSINESS CONDUCT PROGRAM

         The Code of Business Conduct of KBR, Inc. and subsidiary companies contains the

corporate policies adopted by the Board of Directors that relate to the legal and ethical standards

for the conduct of directors, employees, and agents of KBR. (Ex. A, ¶ 2) (Decl. of Chris

Heinrich); (Ex. G, p. 7) (Code of Business Conduct of KBR, Inc.). The purpose of the COBC is

to provide KBR’s expectations as to the legal and ethical nature of conduct of KBR’s directors,

employees, and agents while acting on KBR’s behalf and to provide for the administration of

KBR’s COBC. (Ex. A, ¶ 2); (Ex. G, p. 7). This corporate policy is intended to enhance the


electronic discovery has been limited to 10 POIs, non-electronic discovery has come from a variety of sources
within KBR. Each of the four documents at issue here are part of KBR’s non-electronic document production,
which bears the bates-label of “KBR”, as opposed to electronic documents, which are bates labeled “KBRE”.
2
  Plaintiffs’ complaint about the timing of KBR’s privilege log is gratuitous and not relevant to the issues before the
Court. Plaintiffs’ discovery requests in this case have been overbroad, burdensome and extraordinarily costly, to say
the least—all for a case in which Plaintiffs have nothing to support their allegations. The KBR Defendants have
worked diligently to provide a privilege log to Plaintiffs and have worked with Plaintiffs to provide additional
information when requested. Raising this issue, in this context, is nothing more than an attempt to prejudice the
Court with misrepresentations concerning an irrelevant issue.

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qualifications of the COBC as a program that is designed, implemented, and enforced so as to be

effective in preventing and detecting criminal conduct, and promote an organizational culture

that encourages ethical conduct and a commitment to compliance with the law. (Ex. A, ¶ 2);

(Ex. G, p. 7). The COBC was designed to “provide for obtaining advice of legal counsel.” (Ex.

G, p. 9); see also (Ex. J, ¶ 2).

          A.     Ethics and Compliance Hotline

          KBR takes allegations seriously and thoroughly investigates all credible allegations—

large and small. (Ex. A, ¶ 3). Accordingly, directors, employees, and, to the extent appropriate,

agents, are encouraged and, in fact, obligated to promptly report any violations of the COBC.

(Id.); (Ex. G, p. 10); (Ex. E) (Corporate Policy No. 3-0011, Reporting Obligations and

Investigations).    The existence and nature of the reporting system is communicated to all

directors and employees and, to the extent appropriate, to agents of KBR. (Ex. A, ¶ 3); (Ex. G,

p. 10).

          The reporting system includes an E&C Hotline. (Ex. A, ¶ 4); (Ex. G, p. 10). Calls made

to the E&C Hotline are confidential and a caller’s identity need not be disclosed. (Id.); (Ex. E)

(Confidential Reporting of Alleged Code Violations). Complaints made to the E&C Hotline are

generated into an E&C Hotline Report. (Ex. A, ¶ 4). These confidential reports are then directly

communicated to the Law Department for the purpose of providing legal advice to KBR and the

supervision of an internal investigation. (Id.). When the Law Department receives information

regarding an alleged violation of the COBC, this information is transmitted to the person or

persons authorized by the Policy Committee to investigate alleged violations of the COBC. (Id.).

          B.     Ethics and Compliance Investigation

          KBR’s COBC program is vigorous, and KBR shows no tolerance for employees found to

have engaged in misconduct. (Id., ¶ 5). KBR employs full-time investigators (several of whom

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are former law enforcement officers) to conduct investigations and prepare memoranda, reports,

email communications, and other similar documents in the course of investigating allegations of

employee misconduct.       (Id., ¶ 7).    When KBR receives information regarding an alleged

violation of the COBC, the Law Department will direct and supervise an investigator(s) to: (1)

evaluate the information as to gravity and credibility; (2) initiate an informal inquiry or a formal

investigation with respect thereto; (3) prepare a report of the results of such inquiry or

investigation, including recommendations as to the disposition of such matter; (4) make the

results of such inquiry or investigation available to the Law Department and the Board of

Directors or the Policy Committee for action (including disciplinary action); and (5) recommend

changes in the COBC necessary or desirable to prevent further violations. (Id., ¶ 5); (Ex. G, p.

10). These investigations often begin by raw and unsubstantiated statements obtained through

the E&C Hotline. (Ex. A, ¶ 5).

        Investigations conducted by KBR are kept confidential to the extent permitted by law and

KBR’s need to fully investigate the matter. (Ex. A, ¶ 6); (Ex. F, p. 2). The E&C Investigation

Reports are provided to in-house counsel for the purpose of providing legal advice to KBR and

are kept strictly confidential. (Ex. A, ¶ 6); (Ex. F, p. 2).

        C.      The COBC Program is Administered and Supervised Through KBR’s Law
                Department

        KBR’s COBC program is administered and supervised by KBR’s Law Department. (Ex.

A, ¶ 7). During the relevant time period, the Director of Business Conduct was Richard Mize,

Esq., Assistant General Counsel in the Halliburton Law Department. (Id.). Investigations

regarding allegations of misconduct were undertaken at the direction and under the supervision

of Richard Mize or Chris Heinrich, Esq., Vice President – Legal for KBR’s Infrastructure,

Government, and Power business group. (Id.). The E&C Investigation Reports are intended to


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provide the Director of Business Conduct and KBR’s lawyers with candid advice regarding the

results of the internal investigation, thereby allowing KBR’s Law Department to provide fully

informed legal advice to KBR. (Id.).

                    III.     THE ETHICS AND COMPLIANCE DOCUMENTS
                             SPECIFICALLY REQUESTED BY PLAINTIFFS3

         A.       Ethics and Compliance Hotline Reports

         Document Number One (KBR0011761-72) is an E&C Hotline Report relating to issues

concerning an Indian subcontract worker. (Ex. A, ¶ 8). The report does not involve Al Asad or

any of the Plaintiffs, any of the Daoud entities, or any of the other alleged “co-conspirators.”

(Id.). This report was provided to the Law Department for the purpose of administering and

supervising an internal investigation and providing legal advice to the Company. (Id.). This

document is intended to be confidential, is kept confidential, and has not been disseminated

outside the Law Department. (Ex. J, ¶ 4).

         Document Number Two (KBR0011778-79) is another E&C Hotline Report from an

anonymous caller purportedly in Iraq. (Ex. A, ¶ 9). This report, similarly, does not involve Al

Asad, or any of the other parties or alleged “co-conspirators.” (Id.). This report was also

provided to the Law Department for the purpose of administering and supervising an internal

investigation and providing legal advice to the Company. (Id.). This document is intended to be

confidential, is kept confidential, and has not been disseminated outside the Law Department.

(Ex. J, ¶ 5).




3
  Plaintiffs argue that the subject documents are responsive to several of Plaintiffs’ Requests for Production of
Documents. KBR objected to many of Plaintiffs’ Requests as vague, overbroad and burdensome, and it is not clear
that these documents are, in fact, responsive. However, even if they are, they are certainly not relevant to the issues
presented in this case. See, infra.

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        B.      Ethics and Compliance Investigation Report

        Document Number Three (KBR001786-800) is an E&C Investigation Report performed

at the direction and under the supervision of the KBR Law Department for the purpose of

providing legal advice to KBR in response to the report detailed in Document Number One. (Ex.

A, ¶ 10). As described above, the investigation report does not involve Al Asad or any of the

plaintiffs, Daoud entities, or alleged “co-conspirators.” (Id.). This document is intended to be

confidential, is kept confidential, and has not been disseminated outside the Law Department.

(Ex. J, ¶ 6).

        C.      Internal Law Department Communications

        Document Number Four (KBR0011811-12) includes an email transmitting Document

Number One to the Law Department for the purpose of providing legal advice to KBR regarding

the complaint and subsequent internal Law Department communications regarding the

investigation and resolution of the complaint. (Ex. A, ¶ 11). This document is intended to be

confidential, is kept confidential, and has not been disseminated outside the Law Department.

(Ex. J, ¶ 7).

        D.      The Documents are not Relevant to Plaintiffs’ Claims in this Case

        Plaintiffs seek E&C Documents that do not relate to Plaintiffs or the deceased

individuals. Because the deceased individuals and their family members never worked at Al

Asad, Buddi Gurung is the only Plaintiff with standing to complain about the living or working

conditions at Al Asad. REDACTED




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                                                             Plaintiffs’ motion claims they seek

these documents to “prove knowledge and a pattern of conduct,” but not one of the Plaintiffs has

a complaint about the living and working conditions at Al Asad. Complaints about living and

working by other workers simply have no relevance to whether these Plaintiffs were victim of

human trafficking.

       For all the reasons discussed by the Supreme Court in Upjohn, KBR’s Ethics and

Compliance Documents are entitled to protection from disclosure under KBR’s attorney-client

and work-product protection. See Upjohn v. United States, 449 U.S. 383, 394, 95 (1981). KBR

should, therefore, be shielded from intrusive discovery by Plaintiffs into its internal

investigations conducted by KBR’s in-house counsel, which are core attorney-client and work-

product material.




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                                  IV.    ISSUES PRESENTED

       1.      Whether KBR’s Ethics and Compliance Hotline Reports, Ethics and Compliance
               Investigation and internal Legal Department communications are privileged
               attorney-client communications and attorney work product.

       2.      Whether KBR’s Ethics and Compliance Hotline Reports, Ethics and Compliance
               Investigation and internal Legal Department communications are relevant to
               Plaintiffs’ claims.

       3.      Whether public policy supports the production of KBR’s Ethics and Compliance
               Hotline Reports, Ethics and Compliance Investigation and internal Legal
               Department communications.

                            V.     ARGUMENT & AUTHORITIES

       A.      Plaintiffs are not Entitled to Continue with Their Impermissible and
               Expensive Fishing Expedition

       Plaintiffs had no evidence to support their case when it was filed nearly four years ago,

and today, after years of discovery, they still have no evidence to support their claims. With no

support for any of their allegations, Plaintiffs’ discovery requests are nothing more than an

impermissible, very expensive and time consuming fishing expedition, because Plaintiffs had no

evidence of wrongdoing when they filed this case in violation of the Federal Rules of Civil

Procedure. Indeed, Plaintiffs have yet to provide any factual basis for their claims against the

KBR Defendants.

       During the hearing this month on KBR’s Motion to Compel discovery responses from

Plaintiffs, when asked to identify the link that ties Daoud or KBR to any culpable conduct,

Plaintiffs’ counsel represented that Mr. Gurung testified that when he “landed in Amman,

Jordan, his passport was taken by a gentleman named Khalid and that it was withheld from him,

although he asked for it back repeatedly and he wouldn't give it back and that he didn't get it

back until he left Al Asad at the end of his contract 15 months later.” (Ex. I, p. 45) (Transcript of

Aug. 10, 2012 Proceeding). There is no support for counsel’s statements.


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                                                                             Instead, Mr. Gurung

chose to go to Iraq.

       Mr. Gurung’s testimony makes clear that KBR has no culpability for any of the claims

made against the KBR Defendants. Because Plaintiffs have nothing to support their claims,

KBR should not be required to produce any additional documents, especially those that are

completely irrelevant to Plaintiffs’ claims and are protected by the attorney client and work

product privileges.

       B.      KBR’s Ethics and Compliance Documents are Protected from Disclosure by
               KBR’s Attorney Client Privilege

       The purpose of the attorney-client privilege “is to encourage full and frank

communication between attorneys and their clients and thereby promote broader public interests

in the observance of law and administration of justice.” Upjohn, 449 U.S. at 389. As the

Supreme Court explained, “the privilege exists to protect not only the giving of professional

advice to those who can act on it but also the giving of information to the lawyer to enable him to

give sound and informed advice.” Id. at 390. Accordingly, communications made by company

employees to company legal counsel (and documents reflecting or memorializing such

communications) in an internal investigation conducted by legal counsel for the purpose of

providing legal advice are privileged and protected from disclosure. Id. at 394-95; Sandra TE. v.


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S. Berwyn Sch. Dist. 100, 600 F.3d 612, 620 (7th Cir. 2010) (“Following Upjohn, other circuits

have concluded that when an attorney conducts a factual investigation in connection with the

provision of legal services, any notes or memoranda documenting client interviews or other

client communications in the course of the investigation are fully protected by the attorney-client

privilege.”).

        Under this principle, information a client assembles to provide to an attorney to assist the

attorney in rendering legal services enjoys the same protection as the advice the attorney

ultimately provides. Upjohn, 449 U.S. at 391. This includes information obtained, created, or

generated by a non-attorney to assist an attorney in providing legal advice, including information

obtained, created, or generated by a non-attorney conducting an internal investigation for the

purposes of rendering legal advice. Smith v. Texaco, Inc., 186 F.R.D. 354, 357 (E.D. Tex. 1999)

(reports generated by employees at request of counsel conducting an internal audit were

privileged); see also United States v. Nobles, 422 U.S. 225, 239 (1975) (“It is therefore necessary

that the doctrine [attorney client privilege] protect material prepared by agents for the attorney as

well as those prepared by the attorney himself.”); In re Subpoena of Curran, Mariner Health

Care, Inc. v. Cornerstone Health Mgmt. Co, No. 3:04-MC-039-M, 2004 WL 2099870, at * 4

(N.D. Tex. Sept. 20, 2004) (information an attorney acquires during the course of a factual

investigation to provide legal advice is privileged); Elec. Data Sys. Corp. v. Steingraber, No.

4:02 CV 225, 2003 WL 21653414, at *2-7 (E.D. Tex. July 9, 2003) (information shared between

employees and outside counsel conducting a factual investigation into possible employee fraud

constituted legal services and was privileged).

        This privilege applies to communications with former employees. See, e.g., In re Allen,

106 F.3d 582, 605-06 (4th Cir. 1997) (holding that Upjohn protection applies to communications



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with former employees); In re Coordinated Pretrial Proceedings in Petroleum Prods. Antitrust

Litig., 658 F.2d 1355, 1361 n.7 (9th Cir. 1981) (holding Upjohn privilege applies to former

employees because “[f]ormer employees, as well as current employees, may possess the relevant

information needed by corporate counsel to advise the client with respect to actual or potential

difficulties”).

        Importantly, the privilege also applies to communications through an agent of the

attorney assisting in the performance of legal services, such as investigators or interpreters:

        by reason of the complexity and difficulty of our law, litigation can only be
        properly conducted by professional men, it is absolutely necessary that a man . . .
        should have recourse to the assistance of professional lawyers, and . . . it is
        equally necessary . . . that he should be able to place unrestricted and
        unbounded confidence in the professional agent, and that the
        communications he so makes to him should be kept secret . . .,’ Jessel, M.R. in
        Anderson v. Bank, 2 Ch.D. 644, 649 (1876). Nothing in the policy of the
        privilege suggests that attorneys, simply by placing accountants, scientists or
        investigators on their payrolls and maintaining them in their offices, should be
        able to invest all communications by clients to such persons with a privilege the
        law has not seen fit to extend when the latter are operating under their own steam.

U.S. v. Kovel, 296 F.2d 918 (2nd Cir. 1961) (emphasis added); F.T.C. v. TRW, Inc., 479 F.Supp.

160 (D.D.C. 1979) (alterations from original); accord U.S. v. Pipkins, 528 F.2d 559 (5th Cir.

1976) (holding the attorney-client privilege bars disclosures made to nonlawyers acting as agents

of an attorney).

        As noted, KBR’s E&C Documents are confidential communications made to KBR’s Law

Department for the purpose of providing legal advice the Company. (Ex. A, ¶ 13). KBR’s

COBC program is administered and supervised by KBR’s Law Department. (Ex. A, ¶ 12). E&C

Hotline Reports are communications, through an agent, to KBR Law Department for the purpose

of providing legal advice, which does not destroy any privilege, as alleged by Plaintiffs. (Id.).

Further, calls to the Ethics Hotline are confidential. (Id.); (Ex. E).



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       The E&C Investigation Reports are, in turn, investigations undertaken at the direction and

under the supervision of KBR’s Law Department for the purpose of providing legal advice to the

company. (Ex., A, ¶ 12). The investigations, as well as the investigation reports, are kept

confidential. (Id.); (Ex. F).

       Because the Hotline and Investigation Reports are communications to KBR’s Law

Department for the purpose of obtaining legal counsel, the documents fall squarely within the

attorney-client privilege articulated in Upjohn and are protected from discovery.

       C.      KBR’s Ethics and Compliance Documents are Protected from Disclosure
               under KBR’s Work-Product Privilege

       The work product doctrine protects from disclosure “documents and tangible things that

are prepared in anticipation of litigation or for trial” unless the party seeking disclosure “has

substantial need for the materials to prepare its case and cannot, without undue hardship, obtain

their substantial equivalent by other means.” FED.R.CIV.P. 26(b)(3). “Generally, documents

created as part of an internal investigation . . . are considered to be made in anticipation of

litigation for the purposes of the work product doctrine.” In re Linerboard Antitrust Litig., 237

F.R.D. 373, 381 (E.D. Pa. 2006) (citing Upjohn, 449 U.S. at 398).

       “[L]itigation need not necessarily be imminent, as some courts have suggested, as long as

the primary motivating purpose behind the creation of the document was to aid in possible future

litigation.” United States v. Davis, 636 F.2d 1028, 1040 (5th Cir. 1981) (internal citations

omitted); see also In re Kaiser Aluminum & Chem. Co., 214 F.3d 586, 593 (5th Cir. 2000).

Where an employee has filed an internal complaint alleging potentially unlawful conduct, an

employer may reasonably anticipate litigation and work product protection is triggered. See In re

Grand Jury Investigation, 599 F.2d 1224, 1229 (3rd Cir. 1979) (investigation after reasonable

suspicion of illicit payments surfaced was conducted in anticipation of litigation); Hayden v.


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Acadian Gas Pipeline Sys., 173 F.R.D. 429, 430 (E.D. La. 1997) (notes from a witness interview

obtained during an initial investigation into the claims ultimately asserted were acquired in

anticipation of litigation).

        COBC investigations are conducted primarily for litigation preparation. (Ex. J, ¶ 9).

They are not conducted in “the ordinary course of business.” (Id.). Indeed, COBC Policy 3-

0001 states that investigations will be conducted “as appropriate”—in other words, investigations

are not “ordinary course of business;” they occur only when KBR Defendants’ legal department

initiates them pursuant to the COBC procedures. (Ex. J, ¶ 9); (Ex. G, p. 10). KBR’s E&C

Investigation Reports also reflect the investigator’s thoughts and impressions. (Ex. J, ¶ 9); (Ex.

G, p. 10). These reports, therefore, contain protected attorney work-product and are protected

from discovery.

        D.      Other Courts Have Found Similar Investigation Files Protected by the
                Attorney Client and Work-Product Privileges

        Other courts have found similar investigation files protected under the attorney-client

communication and work-product privileges. In Leamon, in an opinion issued by Judge David

Hittner this June, for example, the plaintiff sought to compel the production of KBR’s internal

investigation files conducted pursuant to KBR’s COBC program relating to her allegations, as

well as another KBR investigation file relating to other violations. Leamon v. KBR, Inc., No. H-

10-253, p. 1 (S.D.Tex. June 28, 2012); (Ex. H).        Judge Hittner performed an in camera

inspection of the COBC investigation files and found that all but one subset of documents—

photographs—were “communications made by corporate employees to their legal counsel in the

pursuit of legal advice, notes and memoranda made by counsel regarding interviews, and other

documents prepared in anticipation of possible litigation.” (Id., p. 4). The decision in Leamon

clearly supports the privileged nature of the investigation conducted by KBR.


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       In addition, the court in Pinstripe, relying on Oklahoma law, found hotline

communications, such as communications made through an ombudsman, like KBR’s Hotline

Report here, protected by the attorney-client and work-product privileges:

       AK has argued that attorney-client privilege and work-product protection are not
       applicable to the Ombudsman documents because Haft and Belcher are not
       attorneys. However, under proper circumstances, the Oklahoma privilege statute
       extends protection to confidential communications with a ‘representative of the
       attorney.’ 12 O.S. § 2502(B). By the same token, Haft’s and Belcher’s non-
       lawyer status does not, without more, preclude their work from qualifying as
       attorney work product. The work-product doctrine has been extended to
       material prepared by an agent for an attorney. U.S. v. Nobles, 422 U.S. 225,
       238–39, 95 S.Ct. 2160, 45 L.Ed.2d 141 (1975); Alexander v. F.B.I., 192 F.R.D.
       12, 18 (D.D.C.2000); Sanchez, 229 F.R.D. at 654-55. Under the current version
       of FED.R.CIV.P. 26(b)(3), ‘whether a document is protected as work product
       depends on the motivation behind its preparation, rather than on the person who
       prepared it.’ Epstein at 916.

Pinstripe, Inc. v. Manpower, Inc., No. 07-CV-620-GKF-PJC, 2009 WL 2252137, *5 (N.D.Okla.

July 28, 2009) (emphasis added).

       There is nothing about this case that would compel a different conclusion. The E&C

Documents at issue include communications by corporate employees to their legal counsel in the

pursuit of legal advice, an investigation report prepared at the request of counsel in the pursuit of

providing legal advice to the company and in anticipation of possible litigation, and internal Law

Department communications, between attorneys, regarding the investigation. Plaintiffs’ motion

to compel these privileged documents should be denied.

       E.      The Cases Cited by Plaintiffs do not Support Production of KBR’s Privileged
               Documents

       Plaintiffs would have this Court believe that courts “regularly order the production of

complaints and reports made to corporate hotlines.” [Doc. No. 328, p. 7]. The authority

Plaintiffs cite, however, does not stand for the proposition that documents generated at the




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direction and supervision of KBR’s Law Department for reporting and investigating ethics

violations are not entitled to attorney-client communication and work-product protection.

       In ABM Industries, the defendant objected to a request from the EEOC for “all

DOCUMENTS that reflect, describe or relate to any complaints made to YOUR 1-800

Harassment Hotline . . . on the basis that they were overbroad, not reasonably calculated to lead

to admissible evidence, invaded the privacy of third parties, invaded the attorney-client and

attorney work product privilege and . . . harassing.”. EEOC v. ABM Industries Inc., No. 1:07-

CV-01428 LJO JL, 2010 WL 481395, *3 (E.D.Ca. Feb. 5, 2010). Importantly, the defendant did

“not refuse[] to respond to these requests,” but instead sought to limit its response to complaints

related to supervisory conduct and for locations within the district. Id. The court found the

request for “all” reports overbroad to the extent it was not limited to the “location of the job site

where the alleged harassment occurred.” Id. at *4 (noting that discovery is limited to matters

relevant to any party's claim or defense). Thus, Plaintiffs cannot attempt to use ABM Industries

to support production of KBR’s privileged documents in that the ABM Industries court did not

address the issue of whether reports and investigations conducted at the direction of the corporate

counsel were protected by the attorney-client or work-product privileges. Indeed, in support of

KBR’s position here, the ABM Industries court ordered the defendant to “produce a privilege log

as to the documents that are subject to the attorney-client privilege or the attorney work product

privilege.” Id. at *8.

       Similarly, Plaintiffs’ reliance on McDougal-Wilson is misplaced because the opinion does

not involve the assertion of attorney-client and work-product privileges. See McDougal-Wilson

v. Goodyear Tire & Ribber Co., 232 F.R.D. 246 (E.D.N.C. 2005) (analyzing a “self-critical

analysis” privilege).



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       Johnson is also distinguishable. Johnson v. Standex Int’l Corp., 153 F.R.D. 80, 81-82

(E.D.Va. 1994) (analyzing what information from a confidential Department of Defense hotline

was confidential).   The plaintiff in Johnson brought a products liability action for injuries

suffered when a component part of a dump trailer failed. In discovery, the manufacturer issued a

subpoena to a non-party contractor to produce the transcript of a telephone call from the non-

party contractor’s employee to the Department of Defense’s “fraud, waste, and abuse” hotline,

and sought production of investigatory notes and reports prepared in regard to the employee's

workers’ compensation claim. The court found the identity of the informant was confidential,

but the information conveyed was not. Id. The court’s analysis, however, was limited to a non-

party’s ability to assert the work-product doctrine.        Id. at 83.      Johnson is, therefore,

distinguishable because KBR is a party and KBR’s COBC and the Ethics and Compliance

Hotline records are its own and are confidential.

       F.      KBR’s Ethics and Compliance Documents are Irrelevant to Plaintiffs’ Claims

       In 2000, Rule 26 was amended to control sweeping discovery by removing matters

merely relevant to “subject matter” from ordinary discovery. FED.R.CIV.P. 26(b)(1), advisory

committee’s note (2000). The intent of this amendment was to focus the attention of the

parties—and the court—on the actual claims and defenses involved in the case. Id. Exigent

circumstances notwithstanding, the scope of discovery is, therefore, limited to non-privileged

matters relevant to any party’s claims or defense. FED.R.CIV.P. 30(b)(1).

       While “relevant” is not defined in the Federal Rules of Procedure, courts generally rely

on the definition in Rule of Evidence 401: “‘Relevant evidence’ means evidence having any

tendency to make the existence of any fact that is of consequence to the determination of the

action more probable or less probable than it would be without the evidence.” Enron Corp.

Savings Plan v. Hewitt Assocs., L.L.C., 258 F.R.D. 149, 159 (S.D.Tex. 2009). Even if the
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discovery appears relevant, discovery that is of “marginal relevance” generally outweighs the

ordinary presumption in favor of broad disclosure. See id.; S.E.C. v. Brady, 238 F.R.D. 429, 437

(N.D.Tex. 2006) (citing Scott v. Leavenworth Unified Sch. Dist. No. 453, 190 F.R.D. 583, 585 (D.

Kan. 1999)).

       Here, the E&C Documents do not concern Plaintiffs or the deceased individuals, and

relate to issues not supported by the testimony of the sole surviving Plaintiff, Buddi Gurung, the

only person to encounter the conditions at Al Asad. KBR’s Ethics and Compliance Reports,

therefore, have nothing to do with supporting Plaintiffs’ existing claims and have everything to

do with finding new claims. Discovery into KBR’s internal investigations concerning other

matters is fishing.

       G.      All Responsive Ethics and Compliance Reports are Identified in KBR’s
               Privilege Log

       Plaintiffs refer this Court—again—to the testimony of Linda Warren as evidence that

“additional such reports were made to KBR” but not produced or identified in KBR’s privilege

log. See [Doc. No. 328, p. 1]. But Ms. Warren testified that “the Iraqi supervisor informed [her]

that the Iraqi workers were quitting en masse, so [she] intervened on their behalf and reported all

the wrongdoing to the camp manager.”           Senate Democratic Policy Committee Hearing,

Contracting Abuses in Iraq: Is the Bush Administration Safeguarding American Taxpayer

Dollars?, Linda Warren, available at http://dpc.senate.gov/hearings/hearing42/warren.pdf

(emphasis added). If Ms. Warren made an E&C Hotline Report, as she alleges, it would not have

been identified on KBR’s privilege log because the complaint is not responsive to Plaintiffs’

Requests for Production. Ms. Warren’s complaints relate to Home Country Nationals, otherwise

known as “HCNs”, or persons residing in Iraq, as opposed to Third-Country Nationals, known as

“TCNs”, and related to whom KBR has agreed to produce documents.


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        Whatever the case, Ms. Warren’s statement makes clear that the morning after she made

her alleged report on the Hotline, she was contacted by KBR security to file a report, an

investigation was done relating to her allegations, and then Ms. Warren was subsequently

assigned to work at other bases in Iraq.

        Plaintiffs’ claim that KBR “refuses to search for additional reports” is absurd. KBR

diligently searched for all E&C Documents relating to third-country nationals, subcontract

workers, passports, visas, recruiting, trafficking, kidnapping, wages, Nepal, Daoud, living

conditions, working conditions, and Buddi Gurung. (Ex. J, ¶ 8). KBR reviewed these E&C

Documents, and, based on KBR’s review, the responsive documents were identified on KBR’s

privilege log. (Id.).

        H.      Public Policy is Advanced by Maintaining the Confidentiality of KBR’s
                Ethics and Compliance Documents

        A holding here that removes the veil of confidentiality and privilege from internal reports

and investigations of misconduct will have a chilling effect contrary to the clear public policy

favoring the exposure, investigation, and remediation of any misconduct.             KBR’s E&C

Documents must be kept confidential and protected from disclosure to encourage whistleblowers

to report misconduct. Similarly, KBR’s E&C Investigation Reports must be kept confidential

and protected from disclosure to promote open and honest communication with KBR’s Law

Department.

        Further, should KBR be compelled to produce E&C Hotline Reports, KBR would be put

in the position of having to produce additional attorney client communication or work product

privileged information to demonstrate what it did to investigate and remedy the reported

misconduct. Thus, not only would KBR be compelled to produce the privileged information

Plaintiffs seek here, but KBR might be forced to produce other privileged information as a result.


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       I.      KBR Will Tender the Documents at Issue for an In Camera Review by the
               Court

       Should the Court wish to review the documents at issue in Plaintiffs’ Motion to Compel,

KBR will produce them to the Court for an in camera review.

                            VI.     CONCLUSION AND PRAYER

       The attorney-client and work-product privileges protect the disclosure of the KBR Law

Department’s investigations of alleged misconduct. Plaintiffs’ desire to review these documents

is also overshadowed by the fact that they have no relevance to any of their specific claims for

relief, and public policy favors protecting the Reports.

       KBR should not be compelled to produce the two E&C Hotline Reports, Document

Number One (KBR0011761-72) and Document Number Two (KBR0011778-79). Even though

the Hotline Reports are generated from the statements of persons who are not employees of

KBR, they are communications transmitted to an attorney through an agent whose assistance is

essential to the attorney’s performance of legal services and who facilitates transmission of the

communication to the attorney. Kovel, 296 F.2d 918; F.T.C., 479 F.Supp. 160; Pipkins, 528 F.2d

559. Thus, the Reports are privileged attorney-client communications made for the purpose of

providing legal advice to KBR, work product generated at the direction and under the

supervision of the KBR Law Department for the purpose of providing legal advice to KBR, and

the Reports are not relevant to any claim asserted in this matter. Furthermore, a consequence of

ordering KBR to produce the Hotline Reports would be to put KBR in the untenable position of

having to decide whether to voluntarily waive any subsequent, privileged investigation into the

Report to demonstrate how the allegation, if substantiated, was remedied.

       Even if the Court determines that the actual Hotline Reports are not privileged and are

relevant (which it should not), however, such a finding does not compel the Court to require


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KBR to produce the E&C Investigation Report, Document Number Three (KBR001786-800).

The Investigation Report, as determined recently by Judge Hittner in another case relating to

KBR’s Code of Business Conduct Program, is a archetypal attorney-client communication made

for the purpose of providing legal advice to KBR, work product generated at the direction and

under the supervision of the KBR Law Department for the purpose of providing legal advice to

KBR, and the report is not relevant to any claim asserted in this matter.

       Similarly, KBR’s internal Law Department communications sent entirely between in-

house counsel stand on their own, and KBR should not be compelled to produce a

characteristically privileged document, even if the Court compels the Hotline Report about

which the attorneys communicate in the subject document. The E&C Email, Document Number

Four (KBR0011811-12), is an internal Law Department communication made wholly between

attorneys for the purpose of providing legal advice to KBR, and the communication is not

relevant to any claim asserted in this matter.

       The KBR Defendants, therefore, respectfully request that the Court enter an order

denying Plaintiffs’ motion to compel and protecting KBR from any further discovery into

matters relating to the Law Department’s investigations.

Submitted: August 23, 2012                       Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 23rd day of August 2012, a true and
accurate copy of the following document was electronically filed with the Court and served on
counsel of record for all parties pursuant to the Court’s ECF filing system.

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